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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHING TON
 8
     DAYBREAK YOUTH SERVICES,
 9   individually and on behalf of its former and       NO.
     current patients;
10                                                      DECLARATION OF THOMAS
                       Plaintiffs,                      RUSSELL IN SUPPORT OF
11                                                      PLAINTIFF DAYBREAK YOUTH
            V.                                          SERVICES' MOTION FOR
12                                                      TEMPORARY RESTRAINING
     CHUCK ATKINS, in his official capacity as          ORDER
13   Clark County Sheriff, MIKE COOKE, in his
     official capacity as Clark County
14   Undersheriff, and CHRISTOPHER LUQUE,
     in his official capacity as Clark County
15   Sheriffs Office Sergeant, ADAM BECK, in
     his official capacity as Clark County Sheriffs
16   Office Detective, and BRENT WAD DELL, in
     his official capacity as Clark County Sheriffs
17   Office Sergeant,
18                     Defendant.
19          I, THOMAS RUSSELL, hereby declare as follows:

20          1.      My name is Thomas Russell. I am over the age of 18 and am otherwise

21   competent to be a witness in this proceeding. I make this declaration based upon my personal

22   knowledge except as otherwise set forth herein. I am currently the Chief Executive Officer for

23   Daybreak Youth Services. I make this declaration in support of Plaintiff Daybreak Youth

24   Services' Motion for Temporary Restraining Order.

25          2.      Daybreak Youth Services is Washington State's oldest and largest residential

26   treatment program for adolescences with the dual diagnosis of substance use and mental health


     DECLARATION OF THOMAS RUSSELL IN SUPPORT OF                      GARVEY SCHUBERT BARER,          P.C.
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     PLAINTIFF DAYBREAK YOUTH SERVICES' MOTION FOR                             1191 second avenue
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          disorders. Daybreak opened an outpatient facility in Spokane in 1978, and later expanded that

     2    facility to provide inpatient care. In 1999, Daybreak opened a small inpatient treatment facility

     3    in Vancouver, Washington. The Brush Prairie residential program was added in 2017 after

     4    Daybreak acquired and remodeled a large former church facility. That facility opened as, and

     5    remains today, a 56-bed facility, with separate wings for girls and boys and a specialized

     6    evaluation and treatment center for stabilizing youth mental health crisis events particularly

     7    relating to suicidal ideation. The Daybreak program allows teens to voluntarily commit to their

     8    recovery while engaging in school and recreation. Inpatient services include individual therapy.

     9    group therapy, and family therapy. Outpatient services are provided in Plaintiffs Clark County

    10    offices in Brush Prairie and Vancouver.

    11            3.      Each year Daybreak serves more than 1,000 youth, ages 12 to 18, who require

    12    treatment for their substance use disorder ("SUD") and co-occurring mental illness. More than

    13    600 youth are serviced each year at Daybreak's Brush Prairie facility in Clark County, either as

    14    out-patients or in the residential treatment program offered to boys and girls. More than 450

    15    youth are served each year at Daybreak's facility in Spokane County, where residential

    16    treatment is offered only to girls.

    17           4.       The demand for such treatment in Washington far exceeds the supply of beds

    18    Daybreak can offer. Daybreak is currently one of the only adolescent behavioral health

    19    organizations in Washington State that offers the entire continuum of care services, including:

    20    A Wraparound with Intensive Services (WI Se) integrated family-centered outpatient therapy

    21    program; two psychiatric evaluation and treatment units; two residential inpatient centers for

    22    patients with both mental health and substance use disorder, two fully accredited schools; and

    23    two outpatient counseling centers. Youth throughout the region often have to wait to access

    24    treatment services that they need. According to the Substance Abuse and Mental Health

    25    Services Administration (SAMHSA) only 11 percent of individuals age 12 and older suffering

    26    from substance abuse had access to treatment for desperately needed care.

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             5.      Daybreak's innovative integrated whole-person care approach improves lives

 2   and saves money. A 2010 report published by CASA Columbia. the leading addiction and

 3    substance abuse research and policy institution. found that substance abuse was tightly linked

 4    with the offenses of 78.4 percent of juveniles \Vho \Vere taken into custody. and that up to three-

 5   , fourths of incarcerated 10- to 17-year-olds had a diagnosable mental health disorder. ''A $5,000

 6   investment in juvenile addiction treatment and other appropriate services for each juvenile who

 7   would otherwise have been incarcerated would pay for itself in the first year if only 12<% stayed

 8   in school and remained drug-free.'' Additionally, the institute's study found that "if we could

 9    prevent crimes and incarceration of 12% of substance-involved adult inmates with juvenile

10   records, we would have 60,480 fewer inmates and 5.9 million fewer crimes. and we would

11   realize $18 billion in avoided criminal justice and health care costs and employment benefits ...

12   The fragmented organization of the health care system and different funding mechanisms create

13    barriers to treatment. particularly for integrated treatment. which is so desperately needed by

14   our youth today.

15           6.      In addition to their SUD and psychiatric illness, many of Daybreak·s patients

16   have suffered other trauma. including sexual or physical abuse. poverty. and homelessness.

17   This is consistent with the findings of a recent report by the Department of Psychiatry and

18   Behavioral Health Sciences at Emory University School of Medicine: In surveys of adolescents

19    receiving treatment for substance abuse. more than 70 percent of patients had a history of

20    trauma exposure. Additionally. three-quarters of the Brush Prairie facility patients come from

21    poverty, and their care is provided through Medicaid. Many of Daybreak· s clients have been

22    abused as children or were victims of sex trafficking. Large numbers of Daybreak's clients

23    have experienced homelessness and have faced violence on the streets on in their homes. Their

24    illnesses and addictions lead to crises that leave them seeking help in emergency rooms - or

25    worse, land them in jail. At Daybreak they receive care and treatment in an environment

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      DECLARATION OF THOMAS RUSSELL IN SUPPORT OF                         GARVEY SCHUBERT BARER,                                  P.C.
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      1   specifically designed, and from staff particularly trained, to meet the dual diagnosis challenges

      2   these teens face.

      3          7.      Daybreak's inpatient program is regulated by the Washington State Department
      4   of Health and the Division of Social and Health Services. The Brush Prairie facility's license as

      5   a Behavioral Health Agency was renewed on October 31, 2018, and its license as a Residential

      6   Treatment Facility was renewed on May 17, 2019. Daybreak also earned full three-year

      7   accreditation from the Commission on Accreditation of Rehabilitation Facilities (CARF

      8   International). Daybreak's programs meet the criteria set by the American Society of Addiction
      9   Medicine (ASAM) as Level III medically monitored programs.

     10          8.      Daybreak's Board of Directors hired me as the interim, and now permanent,

     11   Chief Executive Officer for the organization, starting March 25, 2019. Daybreak, at the time,

     12   was still reeling from the aftermath of the Clark County Sheriffs Office execution of search

     13   warrants and seizure of patient records in September 2018, and the news coverage of the

     14   CCSO's baseless allegations. When I arrived, few youth and their families were being referred

     15   to Daybreak for treatment based in large part on the CCSO's investigation. Recently

     16   Daybreak's Brush Prairie facility had only 11 patients in residence (up from a low of six this

     17   winter), placing the entire organization at risk of closure due to continuing financial losses.

     18   Daybreak had diverted much of its management's attention and remaining funds to defending

     19   the organization against the CCSO investigation and the subsequent state licensing proceeding

     20   it spurred. Before my hire, Daybreak had undergone two rounds of staff layoffs, and was forced

     21   to close its Brush Prairie Evaluation and Treatment center (E&T) for youth in psychiatric crisis

     22   because staff was not available.

     23          9.      Daybreak currently employs a staff of 126, and has provided diagnosis,

     24   treatment, and/or referral for SUD treatment to thousands of youth. Daybreak maintains its

     25   paper records and electronic records in a secure and confidential manner to protect against the

     26   unlawful disclosure or use of patient-identifying information related to its current and former
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          DECLARATION OF THOMAS RUSSELL IN SUPPORT OF                         GARVEY SCHUBERT BARER,             P.C.
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     1   SUD patients.

     2             10.    The week of May 13, 2019, reporter Jerzy Shedlock of the Columbian

     3   newspaper contacted Daybreak and said he wanted to write an update about the organization. I

     4   met with Shedlock at the Brush Prairie facility and gave him an interview. He toured the

     5   building with a photographer, who never saw nor was allowed to take pictures of our clients.

     6   Later we found out that the reporter had already spoken with the CCSO, which told him it was

     7   actively pursuing its criminal investigation against Daybreak employees and/or its clients,

     8   presumably using the records it obtained from Daybreak through search warrants. They seized

     9   records, which included patient information from both the Spokane and Brush Prairie facilities,

 10      and identified thousands of juveniles that had sought treatment over, potentially, a 6-year

 11      period.

 12                11.    Attached as Exhibit A is a true and correct copy of the article Shedlock wrote,

 13      published on the Columbian's website May 24, 2019.

 14                12.    Attached as Exhibit Bare true and correct copies ofletters dated May 14, 2019,

 15      sent by the CCSO requesting interviews and addressed to four current and six former Daybreak

 16      employees.

 17                I declare under penalty of perjury under the laws of the state of Washington that the

 18      foregoing is true and correct.

 19                DATED this 4th day of June 2019 at Brush Prairie, Washington.

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         DECLARATION OF THOMAS RUSSELL IN SUPPORT OF                         GARVEY SCHUBERT BARER,                               P.C.
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                                    CERTIFICATE OF SERVICE
 2          I, Patricia Shillington, certify under penalty of perjury under the laws of the State of
 3
     Washington that, on June 7, 2019, I caused to be served on the person(s) listed below the
 4
     foregoing Declaration of Thomas Russell in Support of Plaintiff Daybreak Youth Services'
 5
     Motion for Temporary Restraining Order .
 6

 7
     Emily Sheldrick                                        ~        United States Mail, First Class
 8   Leslie Lopez                                           D        By Legal Messenger
 9
     Clark County Prosecuting Attorney's Office             D        By Facsimile
     Civil Division                                         D        By Federal Express
10   P.O. Box 5000                                          ~        By Email
     Vancouver, WA 98666
11   Emily.sheldrick@clark.wa.gov
     Leslie.lopez@clark.wa.gov
12

13
            DA TED this 7th day of June, 2019.
14

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     DECLARATION OF THOMAS RUSSELL IN SUPPORT OF                        GARVEY SCHUBERT BARER,         P.C.
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         EXHIBIT A
5/30/2019                                Daybreak Youth
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Daybreak Youth Services strives to move forward
Brush Prairie youth treatment facility fights to keep licenses as charges weighed




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    (https://pcdn.columbian.com/wp-content/uploads/2019/05/1004566344-05-21-Daybreak-folo_02.jpg)
    Regina Somerville, daytime shift lead at Daybreak Youth Services, works in the staff and nurses station near the common living area for
    girls at the Brush Prairie facility Tuesday morning. (Amanda Cowan/The Columbian)

                                                                                                                            Buy this photo




By Jerzy Shedlock (/author/jshedlock), Columbian Breaking News Reporter
Published: May 24, 2019, 6:01 AM
                                        9




https://www.columbian.com/news/2019/may/24/daybreak-youth-services-strives-to-move-forward/                                              1/5
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BRUSH PRAIRIE — Daybreak Youth Services’ operational licenses for its Brush Prairie facility “have been and
remain active,” said newly appointed CEO Thomas Russell.                                                                      A           A

That’s the key message Russell wants the community to know as Daybreak rebuilds its image and trust following allegations that came to
light in September of sexual assault, problems with client and staff safety, (https://www.columbian.com/news/2018/sep/11/deputies-search-
daybreak-youth-services-regarding-multiple-allegations-of-sexual-misconduct/) and what investigators saw as a pattern of inadequate
reporting as required by law.

Six months since the state Department of Health notified Daybreak of its intent to revoke the facility’s licenses,
(https://www.columbian.com/news/2018/nov/28/daybreak-youth-services-may-lose-brush-prairie-licenses/) the center remains open,
providing substance abuse and mental health treatment while it appeals the revocation process.

On Tuesday morning, the halls of the facility at 11910 N.E. 154th St. were empty of the 13 patients receiving treatment there. The youth
generally have counseling and classes during the day.

Despite their absence, a deck of cards was strewn across a coffee table in the girls’ lounge area. Unkempt beds could be seen in patients’
rooms. Posters with messages of encouragement hung on the walls. Another noticeable fixture were the cameras mounted on the walls and
ceilings in nearly every room of the facility.

“I think people view (the facility) as a normal social environment, but it’s not. The staff is handling some of the toughest issues that teenagers
can face. … Experiences have made these kids draw inward. We’re trying to get them out of that space,” Russell said.

The three-member team that guided The Columbian through the mazelike halls of the treatment center — hidden in a neighborhood on a
dead-end road in rural Clark County — was eager to share the changes made in the past six months. Changes include the implementation of
updated care options, sturdier security doors and new gym equipment.

But the future of the facility remains uncertain.


Potential criminal charges
The Clark County Sheriff’s Office started investigating alleged criminal conduct at the Brush Prairie facility in June. About a month ago,
investigators handed over a cache of documents to the Clark County Prosecuting Attorney’s Office for consideration of criminal charges,
sheriff’s Sgt. Brent Waddell said Monday.

Waddell described the case as a “pretty tangled investigation.”

“There are a lot of people. Some have way more culpability than others. It will be up to prosecutors whether or not anyone is charged,” he
said.

Chief Deputy Prosecutor Scott Jackson said the attorney handling the case requested that investigators follow up on some of the provided
information, which is normal when considering charges. Jackson said a decision should be made within a few weeks.

The allegations from the sheriff’s office’s investigation prompted a separate investigation from the state Department of Health.

On Nov. 19, the state’s Residential Treatment Facilities and Behavioral Health Agencies program notified the youth outpatient and inpatient
treatment facility of its intent to revoke its licenses.

Daybreak appealed the revocations, which kept the Brush Prairie facility open. In its appeal, the nonprofit agency argued the revocations
were based on “inaccurate and unsubstantiated” claims.

Russell said the agency’s stance, today, is on improving care and learning from the past.

“What happened before I was here, I don’t know,” Russell said in a phone interview on May 14. “In terms of ownership and responsibility,
we’re taking a hard look at ensuring our policies align with (federal confidentiality laws and regulations) so staff clearly understands and
complies, which overall speaks to the changes we’ve been making.”

Russell started about seven weeks ago, and he said leadership has been reorganized across the agency. Daybreak has also implemented
new policies regarding confidentiality, reporting and new staff trainings.




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It is keeping the health department updated on the changes and will continue to work with officials.

“The kids and their families demonstrate great courage when they call for help, and we intend to keep their trust,” the agency’s leadership
said.

Daybreak’s lawyer, David H. Smith, takes a more assertive stance in letters to the U.S. Attorney for the Western District of Washington and
local authorities.

In a letter to U.S. Attorney Brian T. Moran, Smith claims that the sheriff’s office violated federal law with its “wholesale seizure of computers”
and “swept up confidential communications and treatment records for hundreds of minor patients — far beyond what might be essential to
investigate concerns related to the five minor patients mentioned in the original search warrants or the 10 in the second batch.”

The law, 42 C.F.R. Part 2, prevents the disclosure of identities of patients seeking substance use disorder treatment and facilities’ patient
records to police except under certain circumstances, such as “extremely serious” crimes. Smith said investigators have not and cannot claim
that the allegations fit this criteria.


Community collaboration
The next hearing on the license revocation appeal, which will not be open to the public, is scheduled for June 19, said Julie Graham, public
information officer for the Department of Health. Department investigators, lawyers and Daybreak leaders will meet to “see where we are in
terms of solutions,” Graham said.

A second public hearing in November will determine the status of the licenses and whether “there can be a settlement to ensure public
safety,” she said.

In the meantime, department officials are monitoring the Brush Prairie facility by means of on-site visits, including spot inspections, Graham
said.

The health department is one of many community partners Daybreak works with, Russell said, to ensure a continuum of care for patients so
they don’t return to the same environment that prompted their need for help. Having state representatives collaborate with Daybreak about
policy and transparency is nothing new, the CEO said. Earlier this month, the health department renewed Daybreak’s residential treatment
facility license, he said.

At one point, since the investigation began in full, the facility was down to as few as six patients. As of Tuesday, that number had about
doubled, said Sarah Spier, Daybreak’s director of external communications. The number fluctuates; there were as many as 17 patients
recently, three shy of its 20-patient limit until more staff is hired.

The facility’s capacity is 45 patients, Russell said. A number of referrals to the facility “dried up in the process of rebuilding,” he said.
Stakeholders have made the need for the facility apparent, he said, expressing that there are hundreds of kids who require services.
Daybreak says it serves around 1,000 patients statewide each year.

Staffing was reduced due to fewer patients, and because of the agency’s reorganization. Russell said employees’ responsibilities were
examined and rearranged to line up with new policies aimed at lawful reporting and ensuring patient confidentiality.

Russell and Spier said they did not know if any of the employees working at the Brush Prairie facility and named in investigative documents
were let go. When asked about former CEO Annette Klinefelter, they only said she would not be returning.

In the weeks he’s been on board, Russell said there has been some reluctance from partners to refer people to the facility. Referrals come
from counseling organizations, medical providers and insurers, among other sources. Spier said Daybreak has spent months quickly and
quietly rebuilding relationships.

Clark County Juvenile Court staff and Superior Court judges, after learning of the sheriff’s office’s investigation, in late June ceased
recommending the facility’s inpatient services to families and guardians, who ultimately make the decision of what services to use. Juvenile
Court Administrator Christine Simonsmeier said Monday that the practice has not resumed, but she has met with Daybreak officials about
how to make it happen.

“We do value this program. It’s very much needed, but we have an obligation to the community” to see the appeal process through to the
end, Simonsmeier said.




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New beginnings
Daybreak is implementing new training, such as courses on trauma informed care. Part of the training focuses on the diverse backgrounds of
patients, whose histories may include homelessness and sexual abuse, Spier said. The training helps staff recognize signs associated with
trauma and act to prevent harm to patients, she said.

Nurses are currently being interviewed for around-the-clock evaluation and treatment services that are “desperately needed in Clark County,”
Spier said. The nurses will be on hand to help clients with suicidal ideations and other crises. The agency is waiting for increased staff
numbers to use a vacant section of the building for the psychiatric care.

Daybreak is also bringing a life enrichment program to Southwest Washington, which was implemented at its Spokane facility three years
ago.

The program allows patients to partake in community events and physical activities, and connects them to institutions to build financial equity,
among other “holistic therapy” options.

Spier said before the life enrichment program began, the completion rate for patients was around 82 percent. The program has increased the
rate to between 95 percent and 97 percent.

Why the Brush Prairie and Spokane facilities operated differently is unclear. Russell said they essentially ran independently of one another.
Now, the facilities will be sharing staff and working together.

“We have expertise in Spokane we need here,” and vice versa, the CEO said.




                                                            Jerzy Shedlock (/author/jshedlock)
                                                             Columbian Breaking News Reporter
                                                              360-735-4522
                                                              @col_cops (https://twitter.com/col_cops)
                                                              Send an Email (mailto:jerzy.shedlock@columbian.com)




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   (https://aax-us-east.amazon-adsystem.com/x/c/QtKbnBj-B-
zQDK6G5cM_9QcAAAFrCrEiyAEAAAE0Ab7hGws/https://www.amazon.com/adprefs/ref=sm_n_au_dka_US_ac?tag=thecolumbian-20&linkCode=w41)




  BLOGS (HTTP://BLOGS.COLUMBIAN.COM)                                                                                                     +




https://www.columbian.com/news/2019/may/24/daybreak-youth-services-strives-to-move-forward/                                                5/5
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